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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

Civil Action No.: ______


Paul Montgrain,

         Plaintiff,

v.

Medicredit, Inc.,

         Defendant.


                                           COMPLAINT


        For this Complaint, Plaintiff, Paul Montgrain, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), and the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Paul Montgrain (“Plaintiff”), is an adult individual residing in Littleton,

Colorado, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3), and a “person” as

defined by 47 U.S.C. § 153(39).

        4.      Defendant Medicredit, Inc. (“Medicredit”), is a Missouri business entity with an

address of 3620 Interstate 70 Drive South East, Columbia, Missouri 65201-6582, operating as a
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collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6) and a

“person” as defined by 47 U.S.C. § 153(39).

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       5.      “Megan Shank” (the “Debtor”) allegedly incurred a financial obligation (the

“Debt”) to an original creditor (the “Creditor”).

       6.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

       7.      The Debt was purchased, assigned or transferred to Medicredit for collection, or

Medicredit was employed by the Creditor to collect the Debt.

       8.      Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Medicredit Engages in Harassment and Abusive Tactics

       9.      Within the last year, Medicredit began calling Plaintiff’s cellular telephone,

number 719-xxx-6836, in an attempt to collect the Debt from the Debtor.

       10.     At all times mentioned herein, Medicredit placed calls to Plaintiff’s cellular

telephone number using an automatic telephone dialing system (“ATDS” or “predictive dialer”)

and/or using an artificial or prerecorded voice.

       11.     Plaintiff does not know how Medicredit acquired his cellular telephone number.

Plaintiff did not provide it to Medicredit or to the Creditor.

       12.     When Plaintiff answered calls from Medicredit, he heard a prerecorded message.

       13.     Plaintiff spoke with Medicredit on multiple occasions and explained that it was

calling a wrong number.
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       14.     Nevertheless, Medicredit continued to place automated calls to Plaintiff’s cellular

telephone number in an attempt to collect the Debt.

   C. Plaintiff Suffered Actual Damages

       15.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendant’s unlawful conduct.

       16.     As a direct consequence of Defendant’s acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                  COUNT I
             VIOLATIONS OF THE FEDERAL FDCPA - 15 U.S.C. § 1692, et seq.

       17.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       18.     Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

       19.     Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to

annoy and harass Plaintiff.

       20.     Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair and

unconscionable means to collect the Debt.

       21.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the FDCPA.

       22.     Plaintiff is entitled to damages as a result of Defendant’s violations.




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                                    COUNT II
                    VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, et seq.

         23.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         24.   At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

         25.   Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and is subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         26.   The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         27.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

         28.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         29.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

         30.   Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C)

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that judgment be awarded in his favor and

against Defendant as follows:

               1.   Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);


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             2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

             3. The costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                1692k(a)(3);

             4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C); and

             5. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: November 16, 2016
                                                   Respectfully submitted,

                                                   By /s/ Jenny DeFrancisco

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